              Case 2:16-cv-00614-AB-AS Document 215 Filed 01/29/19 Page 1 of 6 Page ID #:5119
                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                  Central District of California

                                                                           APPLICATION TO THE CLERK TO TAX COSTS

 Harmoni International Spice, Inc., et al.
                                                           V.                                                                                      Case Number:                         FY%52$6[
 Wenxuan Bai, et al.

Judgment was entered in this action on                                                          6/26/2017 /                           202             against Plaintiffs; Rev'd and Remanded by 9th Cir. on 1/23/19
                                                                                                        Date                     Docket No.
                                                                                                                                                                                                                                                           .

    NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

 Clerk's Fees (L.R. 54-3.1):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Fees for Service of Process (L.R. 54-3.2): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 United States Marshal’s Fees (L.R. 54-3.3):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 Transcripts of Court Proceedings (L.R. 54-3.4): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Depositions (L.R. 54-3.5): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Witness Fees - itemize on page 2 (L.R. 54-3.6): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Interpreter’s Fees (L.R. 54-3.7): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Docket Fees (L.R. 54-3.8): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Court-Appointed Experts, Masters, Commissioners, and Receivers (L.R. 54-3.9): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Certification, Exemplification and Reproduction of Documents (L.R. 54-3.10): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Premiums on Undertakings and Bonds (L.R. 54-3.11): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Other Costs - attach court order (L.R. 54-3.12): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 State Court Costs (L.R. 54-3.13):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Costs on Appeal (L.R. 54-4): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    
 Costs on a Bankruptcy Appeal to the District Court (L.R. 54-5): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                                                                                                                                                                                                                    TOTAL          

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                             DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✔ The Court's CM/ECF System

                                    Conventional service by first class mail
                                    Other

 V-RKQ(6FKUHLEHU                                                                                                                                                           -RKQ(6FKUHLEHU
 Signature                                                                                                                                                                       Print Name

 Attorney for: 3ODLQWLIIV+DUPRQL,QWHUQDWLRQDO6SLFH,QFDQG=KHQJ]KRX+DUPRQL6SLFH&R/WG

 Costs are taxed in the amount of

                                                                                                                By:
Clerk of Court                                                                                                               Deputy Clerk                                                                                                   Date

CV-59 (12/18)                                                                                                                             BILL OF COSTS                                                                                            Page 1 of 2
       Case 2:16-cv-00614-AB-AS Document 215 Filed 01/29/19 Page 2 of 6 Page ID #:5120
                                WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                    ATTENDANCE             SUBSISTENCE           MILEAGE
                                                                                                                    Total Cost
                NAME, CITY AND STATE
                                                   Days                Days                           Total Cost   Each Witness
                                                          Total Cost            Total Cost   Miles




                                                                                                        TOTAL


CV-59 (12/18)                                              BILL OF COSTS                                                Page 2 of 2
     Case 2:16-cv-00614-AB-AS Document 215 Filed 01/29/19 Page 3 of 6 Page ID #:5121


1HZPDQ$QQ/XF

)URP                            SD\JRYDGPLQ#PDLOGRFWZDLJRY
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7R                              1HZPDQ$QQ/XF
6XEMHFW                         3D\JRY3D\PHQW&RQILUPDWLRQ&$&'&0(&)


zŽƵƌƉĂǇŵĞŶƚŚĂƐďĞĞŶƐƵďŵŝƚƚĞĚƚŽWĂǇ͘ŐŽǀĂŶĚƚŚĞĚĞƚĂŝůƐĂƌĞďĞůŽǁ͘/ĨǇŽƵŚĂǀĞĂŶǇƋƵĞƐƚŝŽŶƐŽƌǇŽƵǁŝƐŚƚŽĐĂŶĐĞů
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WĂǇ͘ŐŽǀdƌĂĐŬŝŶŐ/͗Ϯϲϯ^<ϱ^
ŐĞŶĐǇdƌĂĐŬŝŶŐ/͗ϬϵϳϯͲϮϬϬϵϲϳϳϵ
ŐĞŶĐǇdƌĂĐŬŝŶŐ/͗ϬϵϳϯͲϮϬϬϵϲϳϳϵ
dƌĂŶƐĂĐƚŝŽŶdǇƉĞ͗^ĂůĞ
dƌĂŶƐĂĐƚŝŽŶĂƚĞ͗:ƵŶϮϴ͕ϮϬϭϳϯ͗Ϭϯ͗ϰϵWD
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                                                                                     'DWH7HUPLQDWHG
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                                                                                     1DWXUHRI6XLW5DFNHWHHU&RUUXSW
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                                                        215 Filed 01/29/19 Page 5 of 6 Page ID #:5123
                           FDXVDWLRQSOHDGLQJVPRUHWKDQRQFH  WKHLQWHUHVWVRIMXVWLFHDQGMXGLFLDODGPLQLVWUDWLRQ
                           ZRXOGEHVHUYHGE\DQHQWU\RISDUWLDOMXGJPHQWDQG  WKH&RXUWRWKHUZLVHILQGVQR
                           MXVWUHDVRQIRUGHOD\WKH&RXUW*5$1763ODLQWLIIV 0RWLRQ2QRUEHIRUH-XQH
                           DWSPWKHSDUWLHVVKDOOMRLQWO\ILOHDSURSRVHGMXGJPHQWIRUWKRVHGHIHQGDQWVZKR
                           KDYHEHHQGLVPLVVHGZLWKSUHMXGLFHIURPWKLV$FWLRQ UIL  (QWHUHG
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                            5XOH E  ,QWHUORFXWRU\$SSHDO  $WWDFKPHQWV3URSRVHG-XGJPHQW
                            6FKUHLEHU-RKQ  (QWHUHG
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                            EULHILQJVFKHGXOH$SSHDO'RFNHW1RDVVLJQHGWR1RWLFHRI$SSHDOWRWK
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                            WKHDSSHOODWHSURFHHGLQJVHYHU\QLQHW\  GD\VWKHILUVWUHSRUWEHLQJGXHRQ2FWREHU
                            E\SP(DFKVWDWXVUHSRUW VFRYHUVKHHWVKDOOLQGLFDWHWKHGXHGDWHRIWKHQH[W
                            UHSRUW 0DGH-6&DVH7HUPLQDWHG  UIL  (QWHUHG
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                            5HOHDVHRI7UDQVFULSW5HVWULFWLRQ$IWHUWKDWGDWHLWPD\EHREWDLQHGWKURXJK3$&(5
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                            1RWLFHRI,QWHQWWR5HGDFWGXHZLWKLQGD\VRIWKLVGDWH5HGDFWLRQ5HTXHVWGXH


KWWSVHFIFDFGXVFRXUWVJRYFJLELQ'NW5SWSO"/BB                                              
    Case 2:16-cv-00614-AB-AS Document 215 Filed 01/29/19 Page 6 of 6 Page ID #:5124


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350 West 1st Street, Room 4311
Los Angeles, CA 90012
(213) 894-2305
myraponce@sbcglobal.net


  BILL TO                                                      INVOICE 17-2108
  Att: Robin Salyer
  Winston & Strawn, LLP
  333 S. Grand Ave., #3800                                     DATE 11/15/2017
  Los Angeles, CA 90071-1543




  DATE                     ACTIVITY                           QTY         RATE    AMOUNT

  05/16/2016               Transcripts                         88          5.82    512.16
                           Harmoni International Spice,
                           Inc., et al. v. Wenxuan Bai,
                           et al.
                           CV 16-614 BRO
                           O& 1 - PDF - 7-DAY
                           EXPEDITE
  10/03/2016               Transcripts                          8          5.82     46.56
                           O&1 - PDF - 7-DAY
                           EXPEDITE
  04/24/2017               Transcripts                         11          5.82     64.02
                           O&1 - PDF - 7-DAY
                           EXPEDITE


 paid via Nationwide Legal, LLC                           PAYMENT                  622.74
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 Los Angeles, CA 90015
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